
PER CURIAM:
This claim was submitted for a decision based upon the allegations in the Notice of Claim and the respondent’s Answer.
The claimant seeks payment of $950.00 for lost wages due to the State’s failure to meet equity requirements in the school-aid formula. The respondent, in its Answer, admits the validity and the amount of the claim, but states that there were insufficient funds expired in the appropriate fiscal year with which the wages could have been paid.
While the Court believes that this is a claim which in equity and good conscience should be paid, the Court further believes that an award cannot be recommended based upon the decision in Airkem Sales and Services, et al. vs. Dept. of Mental Health, 8 Ct. Cl. 180 (1971).
Claim disallowed.
